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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 THE COMMONWEALTH OF
 MASSACHUSETTS, et al.,

                Plaintiffs,                              Case No. 1:25-CV-10338-AK
        v.

 THE NATIONAL INSTITUTES OF
 HEALTH, et al.,

                Defendants.


                      PLAINTIFFS’ MOTION FOR LEAVE TO FILE A
                        SINGLE, CONSOLIDATED REPLY BRIEF

        Plaintiffs in the above-captioned case (“State Plaintiffs”), concurrently with plaintiffs in

two related cases, Association of American Medical Colleges, et al. v. NIH, et al., No. 1:25-cv-

10340-AK, ad Association of American Universities, et al. v. Dep’t of Health and Human Servs.,

et al., No. 1:25-cv-10346-AK, hereby respectfully move for leave to file a single consolidated

reply brief of up to twenty-five pages in support of their motions for temporary restraining orders,

in lieu of three separate ten-page reply briefs. The plaintiffs in all three cases will move for leave

to file one consolidated reply brief on their respective dockets.

        These three cases present distinct, though overlapping, legal claims and factual issues.

Given the government’s consolidated opposition brief, and the nature of the arguments therein,

Plaintiffs believe that one consolidated reply brief here would promote judicial economy and

facilitate an efficient resolution of the pending Motions. The State Plaintiffs’ request for

consolidated briefing is limited to this filing, given the distinct character of each suit, and each set

of plaintiffs reserves all rights to file separate briefs in their separate matters going forward.
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Dated: February 17, 2025           Respectfully submitted,

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                                   Attorney General of Massachusetts

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              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)

        I, Katherine B. Dirks, Assistant Attorney General, hereby certify that on February 17,
2025 at approximately 7:30pm, I, counsel for the State Plaintiffs, along with counsel for
plaintiffs in the related cases (1:25-cv-10340 and 1:25-cv-10346), conferred with Brian Lea and
Thomas Ports, counsel for defendants, by videoconference in a good faith effort to resolve or
narrow the issues presented by this motion. Before and during that conference, the parties were
successful in narrowing the areas of dispute, but did not resolve all areas of dispute. Defendants
agreed generally to plaintiffs’ request for a consolidated reply brief in all three cases, but did not
agree to plaintiffs’ originally requested page length of 30 pages. During the videoconference,
plaintiffs agreed to request 25 pages instead of the originally requested 30 pages, and defendants
agreed to 20 pages, but the parties were otherwise unable to resolve this area of dispute.

                                                       /s/ Katherine B. Dirks
                                                       Katherine B. Dirks, BBO# 673674

Dated: February 17, 2025




                                 CERTIFICATE OF SERVICE

         Counsel for Plaintiffs in the above captioned case certify that they have submitted the
foregoing document with the clerk of court for the District of Massachusetts, using the electronic
case filing system of the Court. Counsel for Plaintiffs hereby certify that they have certified all
parties electronically or by another manner authorized by Fed. R. Civ. P. 5(b)(2).

                                                       /s/ Katherine B. Dirks
                                                       Katherine B. Dirks, BBO# 673674

Dated: February 17, 2025




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